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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________ District of __________

 Case number (If known): _________________________ Chapter 15                                                                                     Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



                                           _____________________________________________________________________________________________
1.   Debtor’s name


2.   Debtor’s unique identifier            For non-individual debtors:

                                                        Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                        Other ___________________________. Describe identifier _____________________________.


                                           For individual debtors:

                                                        Social Security number:    xxx – xx– ____ ____ ____ ____

                                                        Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                        Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                     ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign            ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                  Foreign main proceeding
                                                  Foreign nonmain proceeding
                                                  Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign                      A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                  A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                  Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign                     No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
                                                  Yes
     foreign representative(s)?



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Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                         ______________________________________________                  ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 _______________________________________________
                                         Country                                                         Country




10. Debtor’s website (URL)
                                         ____________________________________________________________________________________________________




11. Type of debtor                       Check one:

                                                Non-individual (check one):

                                                      Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                      Partnership

                                                      Other. Specify: ________________________________________________

                                                Individual




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         /s/ Stanley B. Tarr                       01/15/2024
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 IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.C. 1985, c.
                            C-36, AS AMENDED

                                               AND

     IN THE MATTER OF THE BUSINESS CORPORATIONS ACT, S.B.C. 2002, c. 57, AS
                                 AMENDED

                                               AND

                IN THE MATTER OF BLACK PRESS LTD., 311773 B.C. LTD.,
                     AND THOSE ENTITIES LISTED IN SCHEDULE “A”

                                                                                    PETITIONERS

                            ORDER MADE AFTER APPLICATION
                                        (INITIAL ORDER)

BEFORE THE HONOURABLE                          )
JUSTICE STEPHENS                               j      January 15,2024



THE APPLICATION of the Petitioners coming on for hearing at Vancouver, British Columbia, on
the 15th day of January, 2024 (the “Order Date”); AND ON HEARING Vicki Tickle, Shayna
Clarke and Jared Enns, counsel for the Petitioners and the non-petitioner affiliates of the
Petitioners listed in Schedule “B” hereto (the “Non-Petitioner Stay Parties” and collectively with
the Petitioners, the “Black Press Entities”), and those other counsel listed on Schedule “C”
hereto; AND UPON READING the material filed, including the First Affidavit of Christopher
Hargreaves made January [12], 2024 (the “First Hargreaves Affidavit”), the consent of KSV
Restructuring Inc. to act as the Monitor, the Pre-Filing Report of KSV Restructuring Inc. dated
January 12, 2024; AND UPON BEING ADVISED that the secured creditors who are likely to be
affected by the charges created herein were given notice; AND pursuant to the Companies’
Creditors Arrangement Act, R.S.C. 1985 c. C-36 as amended (the “CCAA”), the British
Columbia Supreme Court Civil Rules and the inherent jurisdiction of this Honourable Court;
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THIS COURT ORDERS AND DECLARES THAT:


SERVICE


1.     The time for service of this Notice of Application and supporting materials is hereby
abridged such that the Notice of Application is properly returnable today.


JURISDICTION


2.     The Petitioners are companies to which the CCAA applies.


SUBSEQUENT HEARING DATE


3.     The hearing of the Petitioners’ application for an extension of the Stay Period (as defined
in paragraph 16 of this Order) and for any ancillary relief shall be held at the Courthouse at 800
Smithe Street, Vancouver, British Columbia at         ^n Thursday, the 25th day of January,
2024 or such other date as this Court may order.


PLAN OF ARRANGEMENT


4.     The Petitioners shall have the authority to file and may, subject to further order of this
Court, file with this Court a plan of compromise or arrangement (hereinafter referred to as the
"Plan").


POSSESSION OF PROPERTY AND OPERATIONS


5.     Subject to this Order and any further Order of this Court, the Petitioners shall remain in
possession and control of their current and future assets, undertakings and properties of every
nature and kind whatsoever, and wherever situate including all proceeds thereof (excluding the
CIBC Cash Collateral (as defined in the First Hargreaves Affidavit), provided that if and when
Canadian Imperial Bank of Commerce releases its security interest in such monies then such
monies will automatically and without any further action constitute and be deemed to form part
of the Property) (the “Property”), and continue to carry on their business (the “Business”) in the
ordinary course and in a manner consistent with the preservation of the Business and the
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Property. The Petitioners shall be authorized and empowered to continue to retain and employ
the employees, consultants, agents, experts, accountants, counsel and such other persons
(collectively, “Assistants”) currently retained or employed by them, with liberty to retain such
further Assistants as they deem reasonably necessary or desirable in the ordinary course of
business or for carrying out the terms of this Order.


Cash Management System


6.     The Petitioners shall be entitled to continue to utilize the cash management system
currently in place as described in the First Hargreaves Affidavit or, with the prior written consent
of the Monitor and the Interim Lender, replace it with another substantially similar central cash
management system (the “Cash Management System”), and that any present or future bank
providing the Cash Management System shall not be under any obligation whatsoever to inquire
into the propriety, validity or legality of any transfer, payment, collection or other action taken
under the Cash Management System, or as to the use or application by any of the Petitioners of
funds transferred, paid, collected or otherwise dealt with in the Cash Management System, shall
be entitled to provide the Cash Management System without any liability in respect thereof to
any Person (as hereinafter defined) other than the Petitioners, pursuant to the terms of the
documentation applicable to the Cash Management System, and shall be, in its capacity as
provider of the Cash Management System, an unaffected creditor under the Plan (if any) with
regard to any claims or expenses it may suffer or incur in connection with the provision of the
Cash Management System.


7.     Subject to the terms of the DIP Term Sheet and Definitive Documents (both as
hereinafter defined), the Petitioners shall be entitled, but not required, to pay the following
expenses which may have been incurred prior to the Order Date:


       (a)     all outstanding wages, salaries, employee and pension benefits (including long
               and short term disability payments), vacation pay and expenses (but excluding
               severance pay) payable before or after the Order Date, in each case incurred in
               the ordinary course of business and consistent with the relevant compensation
               policies and arrangements existing at the time incurred (collectively “Wages”);
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         (b)   the fees and disbursements of any Assistants retained or employed by the
               Petitioners which are related to the Petitioners’ restructuring, at their standard
               rates and charges, including payment of the reasonable fees and disbursements
               of legal counsel retained by the Petitioners, whenever and wherever incurred, in
               respect of

               (i)     these proceedings or any other similar proceedings in other jurisdictions
                       in which any of the Petitioners or any subsidiaries or affiliated companies
                       of the Petitioners are domiciled;

               (ii)    any litigation in which any of the Petitioners are named as a party or are
                       otherwise involved, whether commenced before or after the Order Date;

               (iii)   any related corporate matters; and


        (c)    with the written consent of the Monitor, amounts owing for goods and services
               actually supplied to the Petitioners prior to the Order Date, if in the opinion of the
               Petitioners the supplier is critical to the Business and ongoing operations of the
               Petitioners, consistent with existing policies and procedures.


8.      Except as otherwise provided herein and subject to the terms of the DIP Term Sheet and
the Definitive Documents, the Petitioners shall be entitled to pay all expenses reasonably
incurred by the Petitioners in carrying on the Business in the ordinary course following the Order
Date, and in carrying out the provisions of this Order, which expenses shall include, without
limitation:


        (a)    all expenses and capital expenditures reasonably incurred and which are
               necessary for the preservation of the Property or the Business including, without
               limitation, payments on account of insurance (including directors’ and officers’
               insurance), maintenance and security services, provided that any capital
               expenditure exceeding $100,000 shall be approved by the Monitor;


        (b)    all obligations incurred by the Petitioners after the Order Date, including without
               limitation, with respect to goods and services actually supplied to the Petitioners
               following the Order Date (including those under purchase orders outstanding at
               the Order Date but excluding any interest on the Petitioners’ obligations incurred
               prior to the Order Date); and
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        (c)     fees and disbursements of the kind referred to in paragraph 7(b) which may be
                incurred after the Order Date.


9.      The Petitioners are authorized to remit, in accordance with legal requirements, or pay.

        (a)    any statutory deemed trust amounts in favour of the Crown in right of Canada or
               of any Province thereof or any other taxation authority which are required to be
               deducted from Wages, including, without limitation, amounts in respect of (i)
               employment insurance, (ii) Canada Pension Plan, and (iii) income taxes or any
               such claims which are to be paid pursuant to Section 6(3) of the CCAA;

       (b)     all goods and services or other applicable sales taxes (collectively, “Sales
               Taxes”) required to be remitted by the Petitioners in connection with the sale of
               goods and services by the Petitioners, but only where such Sales Taxes accrue
               or are collected after the Order Date, or where such Sales Taxes accrued or
               were collected prior to the Order Date but not required to be remitted until on or
               after the Order Date; and

       (c)     any amount payable to the Crown in right of Canada or of any Province thereof
               or any political subdivision thereof or any other taxation authority in respect of
               municipal property taxes, municipal business taxes or other taxes, assessments
               or levies of any nature or kind which are entitled at law to be paid in priority to
               claims of secured creditors.


10.    Until such time as a real property lease is disclaimed in accordance with the CCAA, the
Petitioners shall pay all amounts constituting rent or payable as rent under real property leases
(including, for greater certainty, common area maintenance charges, utilities and realty taxes
and any other amounts payable as rent to the landlord under the lease, but excluding, for
greater certainty, accelerated rent or penalties, fees or other charges arising as a result of the
insolvency of the Petitioners or the making of this Order) based on the terms of existing lease
arrangements or as otherwise may be negotiated between the Petitioner and the landlord from
time to time (“Rent”), for the period commencing from and including the Order Date, twice-
monthly in equal payments on the first and fifteenth day of the month in advance (but not in
arrears). On the date of the first of such payments, any Rent relating to the period commencing
from and including Order Date shall also be paid.
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11.         Except as specifically permitted herein, the Petitioners are hereby directed, until further
Order of this Court:


            (a)       to make no payments of principal, interest thereon or otherwise on account of
                      amounts owing by any of the Petitioners to any of their respective creditors as of
                      the Order Date except as authorized by this Order;


            (b)       to make no payments in respect of any financing leases which create security
                      interests;


            (c)      to grant no security interests, trust, mortgages, liens, charges or encumbrances
                     upon or in respect of any of their Property, nor become a guarantor or surety, nor
                     otherwise become liable in any manner with respect to any other person or entity
                     except as authorized by this Order;


            (d)      to not grant credit except in the ordinary course of the Business only to their
                     customers for goods and services actually supplied to those customers, provided
                     such customers agree that there is no right of set-off in respect of amounts owing
                     for such goods and services against any debt owing by the Petitioners to such
                     customers as of the Order Date; and


            (e)      to not incur liabilities except in the ordinary course of Business.


RESTRUCTURING


12.         Subject to such requirements as are imposed by the CCAA and such covenants as may
be contained in the DIP Term Sheet and Definitive Documents, the Petitioners shall have the
right to;
      (a)         permanently or temporarily cease, downsize or shut down all or any part of their
                  Business or operations and commence marketing efforts in respect of any of their
                  redundant or non-material assets and to dispose of redundant or non-material assets
                  not exceeding $100,000 in any one transaction or $500,000 in the aggregate;


      (b)         terminate the employment of such of their employees or temporarily lay off such of
                  their employees as they deem appropriate; and


      (c)         pursue all avenues of refinancing for their Business or Property, in whole or part;
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        all of the foregoing to permit the Petitioners to proceed with an orderly restructuring of
        the Business (the "Restructuring").


13.    The Petitioners shall provide each of the relevant landlords with notice of the Petitioners’
intention to remove any fixtures from any leased premises at least seven (7) days prior to the
date of the intended removal. The relevant landlord shall be entitled to have a representative
present in the leased premises to observe such removal and, if the landlord disputes the
Petitioners’ entitlement to remove any such fixture under the provisions of the lease, such fixture
shall remain on the premises and shall be dealt with as agreed between any applicable secured
creditors who claim a security interest in the fixtures, such landlord and the Petitioners, or by
further Order of this Court upon application by the Petitioners’, the landlord or the applicable
secured creditors on at least two (2) clear days’ notice to the other parties. If the Petitioners
disclaim the lease governing such leased premises in accordance with Section 32 of the CCAA,
they shall not be required to pay Rent under such lease pending resolution of any dispute
concerning such fixtures (other than Rent payable for the notice period provided for in Section
32(5) of the CCAA), and the disclaimer of the lease shall be without prejudice to the Petitioners’
claim to the fixtures in dispute.


14.    If a notice of disclaimer is delivered pursuant to Section 32 of the CCAA, then: (a) during
the period prior to the effective time of the disclaimer, the landlord may show the affected leased
premises to prospective tenants during normal business hours on giving the Petitioners and the
Monitor 24 hours’ prior written notice; and (b) at the effective time of the disclaimer, the landlord
shall be entitled to take possession of any such leased premises without waiver of or prejudice
to any claims the landlord may have against the Petitioners, or any other rights the landlord
might have, in respect of such lease or leased premises and the landlord shall be entitled to
notify the Petitioners of the basis on which it is taking possession and gain possession of and
re-lease such leased premises to any third party or parties on such terms as the landlord
considers advisable, provided that nothing herein shall relieve the landlord of its obligation to
mitigate any damages claimed in connection therewith.


15.    Pursuant to Section 7(3Xc) of the Personal Information Protection and Electronics
Documents Act, S.C. 2000, c. 5 and Section 18(1 )(o) of the Personal Information Protection Act,
S B C. 2003, c. 63, and any regulations promulgated under authority of either Act, as applicable
(the “Relevant Enactment”), the Petitioners, in the course of these proceedings, are permitted
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to, and hereby shall, disclose personal information of identifiable individuals in their possession
or control to stakeholders, their advisors, prospective investors, financiers, buyers or strategic
partners (collectively, ‘Third Parties”), but only to the extent desirable or required to negotiate
and complete the Restructuring or to prepare and implement the Plan or transactions for that
purpose; provided that the Third Parties to whom such personal information is disclosed enter
into confidentiality agreements with the Petitioners binding them in the same manner and to the
same extent with respect to the collection, use and disclosure of that information as if they were
an organization as defined under the Relevant Enactment, and limiting the use of such
information to the extent desirable or required to negotiate or complete the Restructuring or to
prepare and implement the Plan or transactions for that purpose, and attorning to the jurisdiction
of this Court for the purposes of that agreement. Upon the completion of the use of personal
information for the limited purposes set out herein, the Third Parties shall return the personal
information to the Petitioners or destroy it If the Third Parties acquire personal information as
part of the Restructuring or the preparation and implementation of the Plan or transactions in
furtherance thereof, such Third Parties may, subject to this paragraph and any Relevant
Enactment, continue to use the personal information in a manner which is in all respects
identical to the prior use thereof by the Petitioners.

STAY OF PROCEEDINGS, RIGHTS AND REMEDIES

16.    Until and including January 25, 2024, or such later date as this Court may order (the
“Stay Period”), no action, suit or proceeding in any court or tribunal (each, a “Proceeding”)
against or in respect of any of the Black Press Entities or the Monitor, or affecting the Business,
the Property or the Non-Petitioner Stay Parties’ current and future assets, undertakings and
properties of every nature and kind whatsoever, and wherever situate including all proceeds
thereof (the “Non-Petitioner Stay Parties’ Property"), shall be commenced or continued
except with the prior written consent of the Black Press Entities and the Monitor or with leave of
this Court, and any and all Proceedings currently underway against or in respect of the Black
Press Entities or affecting the Business, the Property or the Non-Petitioner Stay Parties’
Property are hereby stayed and suspended pending further Order of this Court.


17.    During the Stay Period, all rights and remedies of any individual, firm, corporation,
governmental body or agency, or any other entities (all of the foregoing, collectively being
“Persons” and each being a “Person”) against or in respect of any of the Black Press Entities
or the Monitor, or affecting the Business, the Property or the Non-Petitioner Stay Parties’
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Property, are hereby stayed and suspended except with the prior written consent of the Black
Press Entities and the Monitor or leave of this Court.


18.     Nothing in this Order, including paragraphs 16 and 17, shall, (i) empower the Black
Press Entities to carry on any business which the Black Press Entities are not lawfully entitled to
cany on; (ii) affect such investigations, actions, suits or proceedings by a regulatory body as are
permitted by Section 11.1 of the CCAA; (iii) prevent the filing of any registration to preserve or
perfect a mortgage, charge or security interest (subject to the provisions of Section 39 of the
CCAA relating to the priority of statutory Crown securities); or (iv) prevent the registration or
filing of a lien or claim for lien or the commencement of a Proceeding to protect lien or other
rights that might otherwise be barred or extinguished by the effluxion of time, provided,
however: (a) that no further step shall be taken in respect of such lien, claim for lien or
Proceeding except for service of the initiating documentation on the applicable Black Press
Entities; and (b) that any deemed trust claims or other claims of any government agency in
Canada or any province or territory thereof or any foreign governmental agency shall not be
perfected or rank as secured claims and shall rank as unsecured claims, including pursuant to
section 38 of the CCAA.


NO INTERFERENCE WITH RIGHTS


19.    During the Stay Period, no Person shall discontinue, fail to honour, alter, interfere with,
repudiate, terminate orcease to perform any right, renewal right, contract, agreement, licence,
or permit in favour of or held by any of the Black Press Entities, except with the prior written
consent of the applicable Black Press Entitie(s) and the Monitor or leave of this Court.


CONTINUATION OF SERVICES


20.    During the Stay Period, all Persons having oral or written agreements with any of the
Black Press Entities or mandates under an enactment for the supply of goods and/or services,
including without limitation all computer software, communication and other data services,
banking services, payroll services, insurance, transportation, utility, or other services, to the
Business or any of the Black Press Entities, are hereby restrained until further Order of this
Court from discontinuing, altering, interfering with, or terminating the supply of such goods or
services as may be required by any of the Biack Press Entities, and that the Black Press
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Entities shall be entitled to the continued use of their current premises, telephone numbers,
facsimile numbers, internet addresses and domain names, provided in each case that the
normal prices or charges for all such goods or services received after the Order Date are paid
by the Black Press Entities in accordance with normal payment practices of the Black Press
Entities or such other practices as may be agreed upon by the supplier or service provider and
the applicable Black Press Entitie(s) and the Monitor, or as may be ordered by this Court.


NON-DEROGATION OF RIGHTS


21.     Notwithstanding any provision in this Order, no Person shall be prohibited from requiring
immediate payment for goods, services, use of leased or licensed property or other valuable
consideration provided on or after the Order Date, nor shall any Person be under any obligation
to advance or re-advance any monies or otherwise extend any credit to the Black Press Entities
on or after the Order Date. Nothing in this Order shall derogate from the rights conferred and
obligations imposed by the CCAA


PROCEEDINGS AGAINST DIRECTORS AND OFFICERS


22.     During the Stay Period, and except as permitted by subsection 11.03(2) of the CCAA, no
Proceeding may be commenced or continued against the directors or officers of any of the
Black Press Entities with respect to any claim against the directors or officers that arose before
the date hereof and that relates to any obligations of any of the Black Press Entities whereby
the directors or officers are alleged under any law to be liable in their capacity as directors or
officers for the payment or performance of such obligations, until a compromise or arrangement
in respect of the Petitioners, if one is filed, is sanctioned by this Court or is reftjsed by the
creditors of the Petitioners or this Court. Nothing in this Order, including in this paragraph, shall
prevent the commencement of a Proceeding to preserve any claim against a director or officer
of any of the Black Press Entities that might otherwise be barred or extinguished by the effluxion
of time, provided that no further step shall be taken in respect of such Proceeding except for
service of the initiating documentation on the applicable director or officer.
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DIRECTORS AND OFFICERS INDEMNIFICATION AND CHARGE


23.     The Black Press Entities shall indemnify their directors and officers against obligations
and liabilities that they may incur as directors or officers of the applicable Black Press Entities
after the commencement of the within proceedings, except to the extent that, with respect to any
director or officer, the obligation or liability was incurred as a result of the director’s or officers
gross negligence or wilful misconduct.


24.     The directors and officers of the Black Press Entities shall be entitled to the benefit of
and are hereby granted a charge (the “Directors’ Charge”) on the Property, which charge shall
not exceed an aggregate amount of $10,674,000, as security for the indemnity provided in
paragraph 23 of this Order. The Directors’ Charge shall have the priority set out in paragraphs
41 and 43 herein.


25.     Notwithstanding any language in any applicable insurance policy to the contrary, (a) no
insurer shall be entitled to be subrogated to or claim the benefit of the Directors’ Charge, and (b)
the Black Press Entities’ directors and officers shall only be entitled to the benefit of the
Directors’ Charge to the extent that they do not have coverage under any directors’ and officers’
insurance policy, or to the extent that such coverage is insufficient to pay amounts indemnified
in accordance with paragraph 23 of this Order.


APPOINTMENT OF MONITOR


26.     KSV Restructuring Inc. is hereby appointed pursuant to the CCAA as the Monitor, an
officer of this Court, to monitor the business and financial affairs of the Petitioners with the
powers and obligations set out in the CCAA or set forth herein, and that the Petitioners and their
shareholders, officers, directors, and Assistants shall advise the Monitor of all material steps
taken by the Petitioners pursuant to this Order, and shall co-operate fully with the Monitor in the
exercise of its powers and discharge of its obligations and provide the Monitor with the
assistance that is necessary to enable the Monitor to adequately carry out the Monitor's
functions.


27.    The Monitor, in addition to its prescribed rights and obligations under the CCAA, is
hereby directed and empowered to:
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(a)   monitor the Petitioners’ receipts and disbursements;


(b)   report to this Court at such times and intervals as the Monitor may deem
      appropriate with respect to matters relating to the Property, the Business, the DIP
      Term Sheet, the Definitive Documents and such other matters as may be
      relevant to the proceedings herein;


(c)   assist the Petitioners, to the extent required by the Petitioners, in their
      dissemination, to the Interim Lender (as hereinafter defined) and their counsel,
      as and when required or permitted under the DIP Term Sheet or the Definitive
      Documents, of financial and other information as agreed to between the
      Petitioners and the Interim Lender which may be used in these proceedings
      including reporting on a basis to be agreed with the Interim Lender;


(d)   advise the Petitioners in their preparation of the Petitioners’ cash flow statements
      and reporting required by the Interim Lender, which information shall be reviewed
      with the Monitor and delivered to the Interim Lender and its counsel as and when
      required under the DIP Term Sheet and Definitive Documents, or as otherwise
      agreed to by the Interim Lender;


(e)   advise the Petitioners in their development of the Plan (if any) and any
      amendments to the Plan;


(f)   assist the Petitioners, to the extent required by the Petitioners, with the holding
      and administering of creditors’ or shareholders’ meetings for voting on the Plan;


(g)   monitor all payments, obligations and transfers as between the Petitioners and
      their affiliates;


(h)   have full and complete access to the Property, including the premises, books,
      records, data, including data in electronic form, and other financial documents of
      the Petitioners, to the extent that is necessary to adequately assess the
      Petitioners’ business and financial affairs or to perform its duties arising under
      this Order;
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       (i)     be at liberty to engage independent legal counsel or such other persons as the
               Monitor deems necessary or advisable respecting the exercise of its powers and
               performance of its obligations under this Order;


       (j)     assist the Foreign Representative (as defined below) and its legal counsel as
               may be required to give effect to the terms of this Order; and


       (k)     perform such other duties as are required by this Order or by this Court from time
               to time.


28 .     The Monitor shall not take possession of the Property and shall take no part whatsoever
in the management or supervision of the management of the Business and shall not, by fulfilling
its obligations hereunder, or by inadvertence in relation to the due exercise of powers or
performance of duties under this Order, be deemed to have taken or maintained possession or
control of the Business or Property, or any part thereof, and nothing in this Order shall be
construed as resulting in the Monitor being an employer or a successor employer, within the
meaning of any statute, regulation or rule of law or equity, for any purpose whatsoever.


29     Nothing herein contained shall require or allow the Monitor to occupy or to take control,
care, charge, possession or management (separately and/or collectively, "Possession") of any
of the Property that might be environmentally contaminated, might be a pollutant or a
contaminant, or might cause or contribute to a spill, discharge, release or deposit of a substance
contrary to any federal, provincial or other law respecting the protection, conservation,
enhancement, remediation or rehabilitation of the environment or relating to the disposal of
waste or other contamination including, without limitation, the Canadian Environmental
Protection Act, the Fisheries Act, the British Columbia Environmental Management Act, the
British Columbia Fish Protection Act and regulations thereunder (the "Environmental
Legislation"), provided however that nothing herein shall exempt the Monitor from any duty to
report or make disclosure imposed by applicable Environmental Legislation. For greater
certainty, the Monitor shall not, as a result of this Order or anything done in pursuance of the
Monitor's duties and powers under this Order, be deemed to be in Possession of any of the
Property within the meaning of any Environmental Legislation, unless it is actually in
possession.
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30.     The Monitor shall provide any creditor of the Petitioners and the I nterim Lender with
information provided by the Petitioners in response to reasonable requests for information made
in writing by such creditor addressed to the Monitor. The Monitor shall not have any
responsibility or liability with respect to the information disseminated by it pursuant to this
paragraph. In the case of information that the Monitor has been advised by the Petitioners is
confidential, the Monitor shall not provide such information to creditors unless otherwise
directed by this Court or on such terms as the Monitor and the Petitioners may agree.


31.     In addition to the rights and protections afforded the Monitor under the CCAA or as an
officer of this Court, the Monitor shall incur no liability or obligation as a result of its appointment
or the carrying out of the provisions of this Order, save and except for any gross negligence or
wilful misconduct on its part. Nothing in this Order shall derogate from the rights and
protections afforded the Monitor by the CCAA or any applicable legislation.


ADMINISTRATION CHARGE


32.    The Monitor, counsel to the Monitor, and counsel to the Petitioners shall be paid their
reasonable fees and disbursements, in each case at their standard rates and charges, by the
Petitioners as part of the cost of these proceedings. The Petitioners are hereby authorized and
directed to pay the accounts of the Monitor, counsel to the Monitor and counsel to the
Petitioners on a periodic basis and, in addition, the Petitioners are hereby authorized to pay to
the Monitor, counsel to the Monitor, and counsel to the Petitioners, retainers, respectively, to be
held by them as security for payment of their respective fees and disbursements outstanding
from time to time.


33.     The Monitor and its legal counsel shall pass their accounts from time to time, and for this
purpose the accounts of the Monitor and its legal counsel are hereby referred to a judge of the
British Columbia Supreme Courtwho may determine the manner in which such accounts are to
be passed, including by hearing the matter on a summary basis or referring the matter to a
Registrar of this Court


34.    The Monitor, counsel to the Monitor, and counsel to the Petitioners shall be entitled to
the benefit of and are hereby granted a charge (the “Administration Charge”) on the Property,
which charge shall not exceed an aggregate amount of $750,000, as security for their
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respective fees and disbursements incurred at the standard rates and charges of the Monitor
and such counsel, both before and after the making of this Order which are related to the
Petitioners’ restructuring. The Administration Charge shall have the priority set out in
paragraphs 41 and 43 hereof.


INTERIM FINANCING


35.    The Petitioners are hereby authorized and empowered to obtain and borrow under a
credit facility (the “DIP Facility”) from Canso Investment Counsel Ltd. as portfolio manager for
and on behalf of Canso Strategic Credit Fund (the "Interim Lender") in order to finance the
continuation of the Business and preservation of the Property, provided that borrowings under
such credit facility shall not exceed the aggregate principal amount of $500,000 unless
permitted by further Order of this Court.


36.    The DIP Facility shall be on the terms and subject to the conditions set forth in the term
sheet between the Petitioners and the Interim Lender dated as of January 12, 2024 (the "DIP
Term Sheet"), attached to the First Hargreaves Affidavit, as Exhibit “M”.


37.    The Petitioners are hereby authorized and empowered to execute and deliver such
credit agreements, mortgages, charges, hypothecs and security documents, guarantees and
other definitive documents (collectively, the "Definitive Documents"), as are contemplated by
the DIP Term Sheet or as may be reasonably required by the Interim Lender pursuant to the
terms thereof, and the Petitioners are hereby authorized and directed to pay and perform all of
their indebtedness, interest, fees, liabilities and obligations to the Interim Lender under and
pursuant to the DIP Term Sheet and the Definitive Documents as and when the same become
due and are to be performed, notwithstanding any other provision of this Order.


38.    The Interim Lender shall be entitled to the benefit of and is hereby granted a charge (the
"Interim Lender’s Charge") on the Property up to the maximum amount of $500,000 (plus
accrued and unpaid interest, fees and expenses). The Interim Lender’s Charge shall not secure
an obligation that exists before this Oder is made. The Interim Lender’s Charge shall have the
priority set out in paragraphs 41 and 43 hereof.


39.    Notwithstanding any other provision of this Order:
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       (a)         the Interim Lender may take such steps from time to time as it may deem
                   necessary or appropriate to file, register, record or perfect the Interim Lender's
                   Charge or any of the Definitive Documents;


       (b)     upon the occurrence and dunng the continuance of an Event of Default (as
               defined in the DIP Term Sheet), the Interim Lender, upon 3 business days notice
               to the Petitioner and the Monitor, may exercise any and all of its rights and
               remedies against the Petitioners or the Property under or pursuant to the DIP
                   Term Sheet, Definitive Documents and the Interim Lenders Charge, including
               without limitation, to cease making advances to the Petitioners and set off and/or
               consolidate any amounts owing by the Interim Lender to the Petitioners against
               the obligations of the Petitioners to the Interim Lender under the DIP Term Sheet,
               the Definitive Documents or the Interim Lender’s Charge, to make demand,
               accelerate payment and give other notices, or to apply to this Court for the
               appointment of a receiver, receiver and manager or interim receiver, or for a
               bankruptcy order against the Petitioners and for the appointment of a trustee in
               bankruptcy of the Petitioners; and


       (c)     the foregoing rights and remedies of the Interim Lender shall be enforceable
               against any trustee in bankruptcy, interim receiver, receiver or receiver and
               manager of the Petitioners or the Property.


40.    The Interim Lender, in such capacity, shall be treated as unaffected in any plan of
arrangement or compromise filed by the Petitioners under the CCAA, or any proposal filed by
the Petitioners under the Bankruptcy and Insolvency Act of Canada (the "BIA"), with respect to
any advances made under the Definitive Documents.

VALIDITY AND PRIORITY OF CHARGES CREATED BY THIS ORDER


41.    The priorities of the Administration Charge, the Directors’ Charge and the Interim
Lender’s Charge (collectively, the “Charges”), as among them, shall be as follows:


       First - Administration Charge (to the maximum amount of $750,000);

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        Third - Interim Lender’s Charge (to the maximum amount of $500,000 plus accrued and
        unpaid interest, fees and expenses).


42.    Any security documentation evidencing, or the filing, registration or perfection of, the
Charges shall not be required, and the Charges shall be effective as against the Property and
shall be valid and enforceable for all purposes, including as against any right, title or interest
filed, registered or perfected subsequent to the Charges coming into existence, notwithstanding
any failure to file, register or perfect any such Charges.


43.    Each of the Charges shall constitute a mortgage, security interest, assignment by way of
security and charge on the Property and such Charges shall rank in priority to all other security
interests, trusts, liens, mortgages, charges and encumbrances and claims of secured creditors,
statutory or otherwise (collectively, “Encumbrances”), in favour of any Person, save and except
those claims contemplated by section 11.8(8) of the CCAA. Notwithstanding the foregoing, the
Charges shall rank behind Encumbrances in favour of any Persons that have not been served
with notice of this application. The Petitioners and the beneficiaries of the Charges shall be
entitled to seek priority of the Charges ahead of such Encumbrances on a subsequent
application on notice to those parties.


44.    Except as otherwise expressly provided herein, or as may be approved by this Court, the
Petitioners shall not grant or suffer to exist any Encumbrances over any Property that rank in
priority to, or pari passu with the Charges, unless the Petitioners obtain the prior written consent
of the Monitor, the Interim Lender and the beneficiaries of the Administration Charge and the
Directors’ Charge.


45.    The Administration Charge, the Directors’ Charge, the DIP Term Sheet, the Definitive
Documents and the Interim Lender's Charge shall not be rendered invalid or unenforceable and
the rights and remedies of the chargees entitled to the benefit of the Charges (collectively, the
“Chargees”) and/or the Interim Lender shall not otherwise be limited or impaired in any way by
(a) the pendency of these proceedings and the declarations of insolvency made herein; (b) any
application(s) for bankruptcy order(s) issued pursuant to the BIA, or any bankruptcy order made
pursuant to such applications; (c) the filing of any assignments for the general benefit of
creditors made pursuant to the BIA; (d) the provisions of any federal or provincial statutes; or (e)
any negative covenants, prohibitions or other similar provisions with respect to borrowings,
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incurring debt or the creation of Encumbrances, contained in any existing loan documents,
lease, mortgage, security agreement, debenture, sublease, offer to lease or other agreement
(collectively, an “Agreement”) which binds the Petitioners; and notwithstanding any provision to
the contrary in any Agreement


       (a)     neither the creation of the Charges nor the execution, delivery, perfection,
               registration or performance of the DIP Term Sheet or the Definitive Documents
               shall create or be deemed to constitute a breach by any of the Petitioners of any
               Agreement to which any of the Petitioners is a party;


       (b)     none of the Chargees shall have any liability to any Person whatsoever as a
               result of any breach of any Agreement caused by or resulting from the Petitioners
               entering into the DIP Term Sheet, the creation of the Charges, or the execution,
               delivery or performance of the Definitive Documents; and


       (c)     the payments made by the Petitioners pursuant to this Order, the DIP Term
               Sheet or the Definitive Documents, and the granting of the Charges, do not and
               will not constitute preferences, fraudulent conveyances, transfers at undervalue,
               oppressive conduct, or other challengeable or voidable transactions under any
               applicable law.


46.    Any Charge created by this Order over leases of real property in Canada shall only be a
Charge in the Petitioners’ interest in such real property leases.


SERVICE AND NOTICE


47.    The Monitor shall (i) without delay, publish in The Globe and Mail (National Edition) a
notice containing the information prescribed under the CCAA, and (ii) within five days after
Order Date, (A) make this Order publicly available in the manner prescribed under the CCAA,
(B) send, in the prescribed manner, a notice to every known creditor who has a claim against
the Petitioners of more than $1,000, and (C) prepare a list showing the names and addresses of
those creditors and the estimated amounts of those claims, and make it publicly available in the
prescribed manner, all in accordance with Section 23(1 )(a) of the CCAA and the regulations
made thereunder.
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48.      The Petitioners and the Monitor are at liberty to serve this Order, any other materials and
orders in these proceedings, any notices or other correspondence, by forwarding true copies
thereof by prepaid ordinary mail, courier, personal delivery or electronic transmission to the
Petitioners’ creditors or other interested parties at their respective addresses as last shown on
the records of the Petitioners and that any such service or notice by courier, personal delivery or
electronic transmission shall be deemed to be received on the next business day following the
date of forwarding thereof, or if sent by ordinary mail, on the third business day after mailing.


49.      Any Person that wishes to be served with any application and other materials in these
proceedings must deliver to the Monitor by way of ordinary mail, courier, personal delivery or
electronic transmission a request to be added to a service list (the “Service List”) to be
maintained by the Monitor. The Monitor shall post and maintain an up to date form of the
Service Liston its website at: www.ksvadvisory.com/experience/case/black-press.


50.      Any party to these proceedings may serve any court materials in these proceedings by
emailing a PDF or other electronic copy of such materials to counsels' email addresses as
recorded on the Service List from time to time, and the Monitor shall post a copy of all
prescribed materials on its website at www.ksvadvisory.com/experience/case/black-press.


51.      Notwithstanding paragraphs 48 and 49 of this Order, service of the Petition, the Notice of
Hearing of Petition, any affidavits filed in support of the Petition and this Order shall be made on
the Federal and British Columbia Crowns in accordance with the Crown Liability and
Proceedings Act, R.S.C. 1985, c. C-50, and regulations thereto, in respect of the Federal
Crown, and the Crown Proceeding Act, R.S.B.C. 1996, c. 89, in respect of the British Columbia
Crown.

GENERAL


52.      The Petitioners or the Monitor may from time to time apply to this Court for directions in
the discharge of their powers and duties hereunder.


53.      Nothing in this Order shall prevent the Monitor from acting as an interim receiver, a
receiver, a receiver and manager, or a trustee in bankruptcy of the Petitioners, the Business or
the Properly.
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54.     THIS COURT REQUESTS the aid and recognition of other Canadian and foreign
Courts, tribunal, regulatory or administrative bodies, including any Court or administrative
tribunal of any federal or State Court or administrative body in the United States of America, to
act in aid of and to be complementary to this Court in carrying out the terms of this Order where
required. All courts, tribunals, regulatory and administrative bodies are hereby respectfully
requested to make such orders and to provide such assistance to the Foreign Representative,
the Petitioners and to the Monitor, as an officer of this Court, as may be necessary or desirable
to give effect to this Order, to grant representative status to the Petitioners in any foreign
proceeding, or to assist the Petitioners and the Monitor and their respective agents in carrying
out the terms of this Order.


55.     Black Press Ltd. is hereby authorized and empowered to act as the foreign representative
(the “Foreign Representative”) in respect of these proceedings for the purpose of having these
proceedings recognized in a foreign jurisdiction and to apply to any court, tribunal, regulatory or
administrative body, wherever located, for the recognition of this Order and for assistance in
carrying out the terms of this Order and the Foreign Representative is authorized and empowered
to act as a representative in respect of the within proceedings for the purpose of having these
proceedings recognized in a jurisdiction outside Canada, including acting as a foreign
representative of the Petitioners to apply to the United States Bankruptcy Court for relief pursuant
to Chapter 15 of the United States Code Bankruptcy Code, 11 U.S.C., §§ 101 - 1532, as
amended.


56.     The Petitioners may (subject to the provisions of the CCAA and the BIA) at any time File
a voluntary assignment in bankruptcy or a proposal pursuant to the commercial reorganization
provisions of the BIA if and when the Petitioners determine that such a filing is appropriate.


57.     The Petitioners are hereby at liberty to apply for such further interim or interlocutory relief
as they deem advisable within the time limited for Persons to file and serve Responses to the
Petition.


58.     Leave is hereby granted to hear any application in these proceedings on two (2) clear
days’ notice after delivery to all parties on the Service List of such Notice of Application and all
affidavits in support, subject to the Court in its discretion further abridging or extending the time
for service.
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59.     Any interested party (including the Petitioners and the Monitor) may apply to this Court
to vary or amend this Order on not less than seven (7) days’ notice to all parties on the Service
List and to any other party or parties likely to be affected by the order sought or upon such other
notice, if any, as this Court may order, provided, however, that the Chargees shall be entitled to
rely on this Order as granted and on the Charges and priorities set forth in paragraphs 41 and
43 hereof with respect to any fees, expenses, liabilities and disbursements incurred, as
applicable until the date this Order may be amended, varied or stayed.


60.     Endorsement of this Order by counsel appearing on this application is hereby dispensed
with.


61.     This Order and all of its provisions are effective as of 12.01 a.m. local Vancouver time on
the Order Date.


62.     Leave is hereby granted for counsel to appear at future hearings in this matter remotely
by video.


THE FOLLOWING PARTIES APPROVE THE FORM OF THIS ORDER AND CONSENT TO
EACH OF THE ORDERS, IF ANY, THAT ARE INDICATED ABOVE AS BEING BY CONSENT:




Signature of Vicki Tickle
Lawyer for the Petitioners



                                                     BY THE COURT




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                                    SCHEDULE“A”
                                     Petitioners


A. Canadian Petitioners
Black Press Ltd.
311773 B.C. Ltd.
Black Press Group Ltd.
0922015 B.C. Ltd.
Central Web Offset Ltd.

B. US Petitioners
Sound Publishing Holding, Inc.
Sound Publishing Properties, Inc.
Sound Publishing, Inc.
Oahu Publications, Inc.
The Beacon Journal Publishing Company
WWA (BPH) Publications, Inc.
San Francisco Print Media Co.
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                                   SCHEDULE“B”
                              Non-Petitioner Stay Parties


Black Press (Barbados) Ltd.
Whidbey Press (Barbados) Inc.
Black Press Delaware LLC
Black Press Group Oregon LLC
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                     SCHEDULE“C”
                    LIST OF COUNSEL


Name of Counsel                        Party Represented
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      OMNIBUS RESOLUTION, WRITTEN CONSENT, AND APPROVAL OF ACTION
  BY THE BOARD OF DIRECTORS OR APPLICABLE GOVERNING BODY OF EACH OF:

                                     BLACK PRESS LTD.
                                       311773 B.C. LTD.
                                 CENTRAL WEB OFFSET LTD.
                                 BLACK PRESS GROUP LTD.
                          SOUND PUBLISHING PROPERTIES, INC.
                             SOUND PUBLISHING HOLDING, INC.
                                   SOUND PUBLISHING, INC.
                     THE BEACON JOURNAL PUBLISHING COMPANY
                               WWA (BPH) PUBLICATIONS, INC.
                                  OAHU PUBLICATIONS, INC.
                             SAN FRANCISCO PRINT MEDIA CO.
                                      0922015 B.C. LTD.
               (collectively, the “Companies” and individually a “Company”)

WHEREAS the undersigned being (i) all of the members of the boards of directors, (ii) all of the
members of the boards of managers, or (iii) all of the individuals who are authorized to approve
such matters for and on behalf of a Company (collectively, the “Governing Bodies” and
individually a “Governing Body”) do hereby consent and agree in writing pursuant to the
applicable governing documents of the applicable company and pursuant to the applicable law,
to the adoption of the following written resolution in lieu of a meeting of the applicable Governing
Bodies, the call and notice of which are hereby expressly and irrevocably waived, and authorize
the taking of all actions contemplated hereby;

AND WHEREAS each Governing Body has determined that, in light of each applicable
Company’s current financial situation, action should be taken to stabilize and preserve the value
of such Company’s assets in order to provide an opportunity to negotiate a sale of all or
substantially all of such Company’s assets or complete another form of restructuring;

AND WHEREAS each Governing Body has had the opportunity to consult with management and
with the financial and legal advisors of such Company and to fully consider each of the strategic
alternatives available to such Company, including, but not limited to, restructuring alternatives;

AND WHEREAS, in contemplation of the foregoing, each Company and its respective advisors
have engaged with such Company’s creditors and other parties in interest in negotiating certain
restructuring transactions on the terms and subject to the conditions set forth in the Transaction
Support Agreement (the “Support Agreement”) to be entered into by and among, among others,
(i) Black Press Ltd., (ii) 311773 B.C. Ltd.; (iii) Carpenter Newsmedia, LLC (“CNL”), (iv) Canso
Investment Counsel Ltd., in its capacity as portfolio manager for and on behalf of certain accounts
that it manages; and (v) Deans Knight Capital Management Ltd., in its capacity as portfolio
manager for and on behalf of certain accounts that it manages (the entities referred to in the
immediately preceding clauses (iii), (iv), and (v) being sometimes hereinafter collectively referred
to as the “Consenting Stakeholders”; and the funds managed by Canso Investment Counsel
Ltd. and Deans Knight Capital Management Ltd. which are beneficial holders of senior secured
notes issued by Black Press Group Ltd. are sometimes hereinafter collectively called the
“Noteholders”) regarding a restructuring of the Companies by way of a transaction to be
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implemented through, among other things, a share purchase and subscription agreement or any
such similar agreement or agreements to be entered into between the Companies and one or
more entities (the “Purchaser”) to be formed by CNL and the Noteholders for the Existing
Stakeholder Transaction (collectively, the “Share Purchase Agreement”) on terms substantially
similar to the terms contained in the CCAA Term Sheet and a reverse vesting order (the “RVO”)
approving the purchase of the shares of Black Press Ltd. and 311773 B.C. Ltd. (the other of the
Companies being owned directly or directly by Black Press Ltd. and 311773 B.C. Ltd.) by the
Purchaser and the vesting out of all liabilities of the Companies (save and except for the remaining
secured obligations to the Noteholders, any obligations as are not capable of being vested out by
the RVO, and such other obligations that are acceptable to the CNL and the Noteholders) to be
granted by the Supreme Court of British Columbia, Vancouver Registry (the “Canadian Court”)
under the Companies’ Creditors Arrangement Act (the “CCAA”, and the Company’s proceedings
thereunder, the “CCAA Proceedings”) and recognized by the United States Bankruptcy Court for
the District of Delaware (the “US Court”) under Chapter 15 of the United States Bankruptcy Code
(“Chapter 15”, and the Company’s proceedings thereunder the “Chapter 15 Proceedings”), or
such other structure as may be acceptable to the Company, CNL and the Noteholders and
approved by courts of competent jurisdiction, subject to the terms and conditions set forth in the
Support Agreement and the CCAA Term Sheet (as that term is defined below) and/or as may
otherwise be agreed by the Company, CNL and the Noteholders (the “Existing Stakeholder
Transaction”), which Existing Stakeholder Transaction shall act as a “stalking horse” bid pursuant
to a sale and investment solicitation process (“SISP”) to be conducted by the Companies in the
CCAA Proceedings and be implemented if selected as the Successful Bid (as that term is defined
in the SISP);

AND WHEREAS, attached to the Support Agreement as a schedule is a CCAA term sheet (the
“CCAA Term Sheet”) and attached to the CCAA Term Sheet is a DIP Loan Agreement (the “DIP
Loan Agreement”) setting out the terms and conditions of a debtor-in-possession (interim)
financing to be made available during the CCAA Proceedings to the Companies by such lender
or lenders (individually and collectively, the “DIP Lender”) to be party to such DIP Loan
Agreement (the “DIP Financing”);

AND WHEREAS, each Company’s Governing Body, upon the advice of such Company’s
advisors and after careful consideration of all of the facts and circumstances relating to each of
the strategic alternatives available to such Company, including, but not limited to restructuring
alternatives, has determined that it is advisable and in the best interests of such Company its
respective creditors, employees, equity holders and other parties in interest to (i) enter into the
Support Agreement and the Share Purchase Agreement, (ii) commence the CCAA Proceedings
and the Chapter 15 Proceedings, and (iii) consummate all proceedings and transactions
contemplated thereby (including the term sheets, documents, and agreements attached as
schedules thereto) and for certainty and including without limitation, performing its obligations
under the SISP and completing the Existing Stakeholder Transaction or such other transaction as
may be selected as the Successful Bid (all such actions and proceedings (including for certainty
and without limitation the CCAA Proceedings and the Chapter 15 Proceedings) including without
limitation those contemplated by the Support Agreement, the Share Purchase Agreement (if
determined to be the Successful Bid under the SISP) or, if applicable, the Superior Transaction(s)
(as defined below), the DIP Loan Agreement, the KERP and the SISP are collectively referred to
as the “Restructuring Transactions”);
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AND WHEREAS, in connection with the pursuit and implementation of the Restructuring
Transactions and pursuant to the terms of the Support Agreement, it is proposed that the
Companies obtain the DIP Financing from the DIP Lender on the terms and conditions set out in
the DIP Loan Agreement;

AND WHEREAS, in connection with the DIP Financing, it is proposed that the Canadian Court
will approve and create for the DIP Lender a first priority charge (subject to permitted priority liens
and charges) on substantially all of such Company’s property and assets (but excluding the CAD
$500,000 pledged by Black Press Group Ltd. to Canadian Imperial Bank of Commerce as security
for cash management services to be provided by Canadian Imperial Bank of Commerce to Black
Press Group Ltd. or other Companies but only until such time as Canadian Imperial Bank of
Commerce releases its lien against such pledged cash collateral at which time such cash collateral
shall become subject to the Canadian Court ordered charge) to secure the Companies’ obligations
under the DIP Financing in accordance with the DIP Loan Agreement and any other agreements
that may be entered into in connection therewith, including such other documents, agreements,
instruments, financing statements, filings and/or certificates related thereto or that may be
necessary or desirable tor requested by the DIP Lender to effect the transactions contemplated
thereby (together with all amendments, amendments and restatements, supplements, waivers,
renewals, extensions, modifications, substitutions and replacements thereto and thereof, the “DIP
Facility Documents”);

AND WHEREAS, in order to motivate and incentivize certain key employees of certain of the
Companies to remain employed with such Companies and to contribute fully to such Company’s
business goals during the Insolvency Proceedings and to support the completion of the
Restructuring Transactions, such Companies, based on advice from advisors, have determined
that, based on the facts and circumstances and subject to approval of the Canadian Court, it is
advisable and in the best interests of such Company or Companies and their respective
stakeholders, creditors, and other parties in interest such Company or Companies to authorize
and approve the key employee retention plan and/or employee retention plans and to enter into
and/or issue retention award letter agreements with the employees and executives entitled to
participate in such plans (any such plan or plans including without limitation any such retention
awards collectively called the “KERP”), and to ask the Canadian Court to grant a charge over the
property and assets of the applicable Companies in connection with such KERP to the secure
the payment of the obligations which will become owing to the beneficiaries thereunder;

AND WHEREAS each Company’s Governing Body has determined it is in the best interests of
such Company to commence the CCAA Proceedings and the Chapter 15 Proceedings to stabilize
and preserve the value of such Company’s assets and business and in order to implement the
Restructuring Transactions.

NOW THEREFORE BE IT RESOLVED THAT:

1.     Each Company be and is hereby authorized to:

           a. enter into and perform its obligations under each of (i) the Support Agreement, (ii)
              the CCAA Term Sheet, (iii) the DIP Loan Agreement, and (iv) all other documents
              or agreements required, necessary, contemplated by and/or ancillary to the
              proceedings and transactions contemplated thereby (for certainty, in the forms of
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     such documents ultimately settled with the parties thereto and on the terms and
     conditions contained in such settled documents);

b. enter into and, if selected as the Successful Bid under the SISP and approved by
   the Canadian Court in the CCAA Proceedings, perform its obligations under the
   Share Purchase Agreement and all other documents or agreements required,
   necessary, contemplated by and/or ancillary to the proceedings and transactions
   contemplated thereby (for certainty, in the forms of such documents ultimately
   settled with the parties thereto and on the terms and conditions contained in such
   settled documents);

c. apply to the Canadian Court for an order or orders under the CCAA providing,
   among other things, for protection from its creditors, for the appointment of KSV
   Restructuring Inc. (“KSV”) as Monitor of the Companies, for a stay of all
   proceedings and remedies taken or that might be taken in respect of such
   Company and its affiliates, the Monitor or the current or future directors and/or
   officers of the Company and its affiliates, and approving the DIP Financing;

d. commence, initiate and/or pursue related proceedings as such Company (or any
   Authorized Person (as that term is defined below)) deems appropriate including
   without limitation the seeking of an emergency stay and the commencement of the
   Chapter 15 Proceedings (the CCAA Proceeding, the Chapter 15 Proceedings, and
   any such related proceedings collectively referred to as the “Insolvency
   Proceedings”);

e. enter into, execute, deliver and perform its obligations under any KERP approved
   by or on behalf of such Company and the Canadian Court;

f.   request the Canadian Court to approve the SISP in the CCAA Proceedings and, if
     so approved, to conduct the SISP;

g. if one or more transactions, other than the Existing Stakeholder Transaction, is or
   are determined to be the Successful Bid(s) under the SISP (the “Superior
   Transaction(s)”), negotiate and enter into the Superior Transaction(s) on terms
   acceptable to any Authorized Person, with the assistance and advice of the
   Companies’ advisors, and, if approved by the Canadian Court in the CCAA
   Proceedings, perform its obligations under the Superior Transaction(s) and all
   other documents or agreements required, necessary, contemplated by and/or
   ancillary to the proceedings and transactions contemplated thereby (for certainty,
   in the forms of such documents ultimately settled with the parties thereto and on
   the terms and conditions contained in such settled documents);

h. to execute, verify and/or file, or cause to be filed and/or executed or verified (or
   direct others to do so on its behalf) all necessary documents and carry out all
   actions necessary for the Insolvency Proceedings and the Restructuring
   Transactions; and

i.   to complete all Restructuring Transactions and enter into any documents or
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               agreements required or contemplated thereby including without limitation any
               Successful Bid.

2.     Cassels Brock & Blackwell LLP (“Cassels”), Canadian counsel for the Companies,
Thompson Hine LLP (“TH”), U.S., counsel for the Companies, and Blank Rome LLP as local
Delaware counsel for the Chapter 15 Proceedings, are hereby authorized to act as counsel to the
Companies in connection with all aspects of the Insolvency Proceedings and the Restructuring
Transactions, and to prepare, negotiate, serve and file such documents as are required on each
Company’s behalf in connection with the Insolvency Proceedings and the Restructuring
Transactions, and the Companies are authorized to promptly pay such counsel for their services
and retain such other counsel (including without limitation in Barbados) and other advisors as may
be deemed necessary or desirable in connection with same.

3.      Each Company is authorized to pay the proposed Canadian Court-appointed Monitor,
KSV, and its counsel, Osler Hoskin & Harcourt LLP, in the CCAA Proceedings on such terms and
conditions as the Canadian Court shall approve.

4.      Glenn Rogers or any other person designated by Glenn Rogers for and on behalf of such
Company (each, an “Authorized Person”) be and is hereby authorized for and on behalf of such
Company to work with Cassels and the Company’s other advisors to negotiate and settle,
execute, under corporate seal or otherwise, and deliver in the name of such Company, any and
all documents or agreements required by or requested from such Company or contemplated in
connection with the Insolvency Proceedings, and/or the Restructuring Transactions in such form
and with such alterations, amendments or deletions as may be approved by such Authorized
Person (each a “Restructuring Transaction Document” and collectively, the “Restructuring
Transaction Documents”), and the signature of such Authorized Person on behalf of such
Company on any such Restructuring Transaction Document shall be conclusive evidence of the
approval of such alterations, amendments, additions and the documents so executed shall be the
documents authorized by this resolution.

5.      Any Authorized Person be and is hereby authorized for and on behalf of such Company
to do or cause to be done all such acts and things as may be necessary or desirable in connection
with the Insolvency Proceedings and the Restructuring Transactions or in order to give effect to
the intent of this resolution (and for certainty, including without limitation (i) making any decisions
in connection herewith and therewith and (ii) delivering of behalf of such Company any consent
or waiver).

6.      The omission from this resolution of any agreement or other arrangement contemplated
by any of the agreements or transactions described or contemplated herein or any action to be
taken in accordance therewith shall in no manner derogate from the authority of any Authorized
Person to take all actions necessary, desirable, advisable or appropriate for or on behalf of any
Company to consummate, effectuate, carry out or further the matters contemplated by and the
intent and purposes of this resolution.

7.      Any and all acts, transactions, agreements or certificates previously signed by on behalf
of each Company by any officer or director of a Company in connection with or in furtherance of
this resolution that are consistent with this resolution be, and hereby are, in all respects approved,
adopted, confirmed and ratified in all respects as the true acts and deeds of such Company, with
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the same force and effect as if each such act, transaction, agreement or certificate had been
specifically authorized in advance by resolution of the Governing Body of such Company and
such officer or director did execute the same. Any Authorized Person of a Company is authorized
and directed to work with the legal and financial advisors of such Company to negotiate, settle
and finalize each of the Restructuring Transaction Documents and to implement all of the
transactions contemplated thereby.

8.      This written consent and resolution may be executed in multiple counterparts, all of which
shall be considered one and the same consent and shall become effective when signed by the
necessary and required directors, managers, members, as applicable, of the applicable
Governing Body, in each case, as required to take action by written consent under the applicable
governing documents and the applicable law of such Company.

9.      This consent may be executed and delivered by means of facsimile, telecopy or other
electronic transmission (including email of a “pdf” signature or “DocuSign”), this consent shall be
treated in all manners and respects and for all purposes as an original consent and shall be
considered to have the same binding legal effect as if it were the original signed version thereof
delivered in person.
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

 In re:
                                                                     Chapter 15
                                 1
 Black Press Ltd., et al.,
                                                                     Case No. 24-_____ (___)

           Debtors in a Foreign Proceeding.                          (Joint Administration Requested)


                           LIST PURSUANT TO RULE 1007(a)(4) OF THE
                         FEDERAL RULES OF BANKRUPTCY PROCEDURE

          Black Press Ltd. (“BP Holdco”), in its capacity as the duly-appointed foreign representative

(“Foreign Representative”) for the above-captioned debtors (collectively, the “Debtors”), which

are subject of the proceedings (“Canadian Proceedings”) currently pending before the Supreme

Court of British Columbia (“Canadian Court”), initiated pursuant to the Companies’ Creditors

Arrangement Act, R.S.C. 1985, c. C-36 (as amended, the “CCAA”), respectfully represents:

  I.      Administrator in Foreign Proceedings Concerning the Debtors

          Black Press Ltd. is the Court-appointed foreign representative (the “Foreign

Representative”) in the Canadian Proceedings. KSV Restructuring Inc. (“KSV”) is the Court-

appointed monitor (the “Monitor”) in the Canadian Proceedings. The Canadian Proceedings are

the only foreign proceedings pending with respect to the Debtors.

          The Foreign Representative’s Address is:

          Black Press Ltd.
          15288 54a Ave #208,
          Surrey, British Columbia,
          Canada V3S 5X7


1 The Debtors in these chapter 15 cases, along with the last four digits of each Debtor's federal tax identification number (or BN as

applicable), include: Black Press Group Ltd. (BN 8464); Sound Publishing Inc. (TIN 6047); The Beacon Journal Publishing
Company (TIN 5666); Black Press Ltd. (BN 4084); Sound Publishing Holding Inc. (TIN 6047); 311773 BC Ltd. (BN 3265); Sound
Publishing Properties, Inc. (TIN 6047); Oahu Publications, Inc. (TIN 3529); San Francisco Print Media Company (TIN 0940);
Central Web Offset Ltd. (BN 5111); 0922015 B.C. Ltd. (BN 4906); and WWA (BPH) Publications, Inc. (TIN 7876). The location
of the Debtors’ corporate headquarters and service address is: 15288 54a Ave #208, Surrey, British Columbia, Canada V3S 5X7.

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        The Monitor’s address is:

        KSV Restructuring Inc.
        Attn: Noah Goldstein and Jason Knight
        1165, 324 - 8th Avenue SW,
        Calgary, Alberta, T2P 2Z2
        Canada


 II.    All Parties to Litigation Pending in the United States in which a Debtor is a Party at
        the Time of Filing of the Chapter 15 Petitions

    •   Pradeep Arora, on behalf of himself and all others similarly situated

           o Arora v. Honolulu Star-Advertiser, Case No. 1:23cv00480 (U.S. District Court of
             Hawaii)

    •   Vincea Hibbets; The Estate of Stonechild Chiefstick; Diane Charlie; Laverna Johnny;
        Kitsap County; City of Poulsbo, Kitsap County Sheriff; City of Poulsbo Police Department;
        Poulsbo Police Association; Tribune Broadcasting Seattle LLC d/b/a KCPQ-TV; Q13 Fox;
        Kiro-TV Inc. d/b/a Kiro News; Kiro TV; King Broadcasting Company d/b/a King 5
        Television; Gannett Company Inc. d/b/a Kitsap Sun; Suquamish Indian Tribe of the Port,
        Madison Reservation; Indian Country Today; Maria Fergus; Angee Harrington; Paul
        Kirchoff

           o In Re The Estate Of Stonechild Chiefstick Deceased, et al. v. Kitsap County, Case
             No. 19-2-03420-18 (Washington Superior Court, Kitsap County)

III.    Entities Against Whom Provisional Relief is Sought Pursuant to 11 U.S.C. § 1519

        See attached Schedule 1.

IV.     Corporate Ownership Statement Pursuant to Rules 1007(a) and 7007 of the Federal
        Rules of Bankruptcy Procedure

        Pursuant to Rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

Foreign Representative submits the following list of entities that hold ownership interests in the

Debtors:

           A. Black Press Ltd.

       The common shares of Black Press Ltd. are 80.65% owned by Black Press Holdings Ltd.
and 19.35% owned by Metroland Media Group Ltd.

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          B. Black Press Group Ltd.

       Black Press Ltd. owns 100% of the equity interests in Black Press Group Ltd.

          C. 0922015 B.C. Ltd.

       Black Press Group Ltd. owns 100% of the equity interests in 0922015 B.C. Ltd.

          D. Central Web Offset Ltd.

       Black Press Group Ltd. owns 100% of the equity interests in Central Web Offset Ltd.

          E. Sound Publishing Holding, Inc.

       Black Press Group, Ltd. owns 99% of the equity interests in Sound Publishing Holding,
Inc.

          F. Sound Publishing, Inc.

       Sound Publishing Holding, Inc. owns 100% of the equity interests in Sound Publishing,
Inc.

          G. The Beacon Journal Publishing Company

     Sound Publishing, Inc. owns 100% of the equity interests in The Beacon Journal Publishing
Company.

          H. WWA (BPH) Publications, Inc.

       Sound Publishing, Inc. owns 100% of the equity interests in WWA (BPH) Publications,
Inc.

          I. Oahu Publications, Inc.

       Sound Publishing Holding, Inc. owns 98.8244% of the equity interests in Oahu
Publications, Inc.

          J. San Francisco Print Media Co.

       Oahu Publications, Inc. owns 100% of the equity interests in San Francisco Print Media
Co.

          K. 311773 B.C. Ltd.

       The common shares of 311773 B.C. Ltd. are 80.65% owned by Black Press Holdings Ltd.
and 19.35% owned by Metroland Media Group Ltd.

          L. Sound Publishing Properties, Inc.


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311773 B.C. Ltd. owns 100% of the equity interests in Sound Publishing Properties, Inc.




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                                           Schedule 1

     Entities against Whom Provisional Relief is Sought pursuant to 11 U.S.C. § 1519

Secured Lenders / UCC Parties
Canadian Imperial Bank of Commerce                   LCA Bank Corporation
Canso Investment Counsel Ltd.                        LEAF Capital Funding, LLC
Computershare Trust Company of Canada                Pension Benefit Guaranty Corporation
Fujifilm North America Corporation                   VFS US LLC

Litigation Parties
Angee Harrington                                     Laverna Johnny
City of Poulsbo                                      Maria Fergus
City of Poulsbo Police Department                    Paul Kirchoff
Diane Charlie                                        Poulsbo Police Association
Gannett Company Inc. d/b/a Kitsap Sun                Q13 Fox
                                                     Suquamish Indian Tribe of the Port, Madison
Indian Country Today
                                                     Reservation
King Broadcasting Company d/b/a King 5
                                                     The Estate of Stonechild Chiefstick
Television
                                                     Tribune Broadcasting Seattle LLC d/b/a KCPQ-
Kiro-TV Inc. d/b/a Kiro News
                                                     TV
Kitsap County                                        Vincea Hibbets
Kitsap County Sheriff

Shareholders
Black Press Holdings Ltd.                            Metroland Media Group Ltd.
David Black

Other Creditors
0858133 BC Ltd.                                      0863141 BC Ltd. d/b/a Peak Security
0873340 BC Ltd. (Sparwood Heights)                   0879143bc Ltd. d/b/a Lloyd Nolan
123rf LLC                                            1357843 BC Ltd. C/O Karampal Ajji
14270100 Canada C/O Randeep Singh                    14904028 Canada C/O Gurjant Kahlon
1545641 Alberta Ltd.                                 1825711 Alberta Ltd.
2 Pump Pauls                                         2527819 Alberta Ltd.
33742 Yukon Inc.                                     497538 BC Ltd. (Christina Lake Tem)
689555 Ng Ltd. d/b/a Motor Mountain                  A Korn Roller Inc.
A Marketing Resource LLC                             A-1 Performance
A1 Sports Ltd.                                       Aaron Kotarek
Aaron Miyamoto                                       Abc Customs Brokers Ltd.
Able Distributors Inc.                               Access
Accu Weather                                         Ace Courier Services
Ace Hardware                                         Ace Mat Services
Ackk Distributors LLC                                Actton Super Save Gas Stations Ltd.
ADP Inc.                                             Adpay Inc.

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Adrian Aming-Barclay                          Adriana Gomez
ADT Canada Inc.                               Adt Security Services Canada
ADT Security/Telus Security                   Adventive Inc.
Aea Brenda                                    Afa Distribution LLC
Affinity – Creative Work                      Affinity Express Inc.
Affinity Express Inc.                         Agustin Pedelino
Air Tindi                                     Airgas USA LLC
Aituze Graphics                               Akamai Search Industries LLC
Alaeria Agency Inc.                           Alan B Harney
Alaska Airlines Inc.                          Alberta Newsprint
Alberta Newsprint Sales                       Alberta Weekly Newspapers Assoc.
Alex Such                                     Alexander & Baldwin LLC
Alexsandr Antonyuk                            All Blades Canada Inc.
All West Freight Ltd.                         Allan Fradette
Alliance For Audited Media .                  Aloha Air Cargo
Aloha Petroleum LLC                           Aloha Springs Water
Aloha Termite & Pest Control                  Alsco Uniform & Linen
Altres Staffing Inc.                          Amandeep Beesla
Amazon Web Service Inc.                       Ambercor Shipping Inc.
American Express (Canada)                     American Express (Us)
American Linen                                American Press Institute
Anago Of Hawaii                               Anastasia Manibusan
Anchorage Printing Inc.                       Andrew Baricar
Andrew Layfield                               Andrews Mcmeel Syndication
Andy S Lock & Safe Inc.                       Angela Gabriel
Angela Johansen                               Anthology
APC Hawaii Inc.                               Apey S Deliveries
Applied Compression Systems                   Aramark Canada Ltd.
Aramark Uniformed Services                    Aristos Mail Tech Inc.
Arrow Building Supplies                       Asagra Joellie K
Asm Printing Inc.                             Asuncion Chantile
AT Source Recycling Systems                   Atlas Book Bindery (1961) Ltd.
ATN Distrubtions                              Audrey Wilson
AV Web Designs                                Avalon Gardens
Avanti Software Inc.                          B & D Lift Truck Service
B&T Distriubtion Ltd.                         Bailey Chassadee
Baldwin Technology Company                    Balraj Gill
Bandstra Transportation Systems               Bank of Hawaii
Barb Hansen                                   Barb Keitch Cleaning Services
Barbara Brouwer                               Barbara Pettie
Barry Beecroft Fuel Dist.                     Bastion Cleaning & Janitorial
BC Hydro                                      Beanfield Technologies Inc.
Beau Simpson                                  Beauford Burnett
Beaverdell General Store                      Becker Communications
Bennett Jones LLP                             Best Color Press Ltd.

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Betts Electric Security Ltd.                     Betty Hunt
Big Country Printers Ltd.                        Bill Gereluk
Bill Metcalfe                                    Bindery Overload
Biscayne Marketing                               Blind Vendors Ohana Inc.
Blink Bindery Ltd.                               Bloomberg LP
Bloomingdales                                    Blue Conic Inc.
Blue Cross                                       Bluefin Technology Partners (BC Clasifieds)
Bluewave Energy                                  BNR Mechanical And Design
Bo Zhang                                         Board Of Water Supply
Bob Friesen                                      Bob Otto
Bolt Supply House Ltd.                           Bonnie Wilson
Bottcher Canada Ltd.                             Boys And Girls Club Of Hawaii
Brandon Haleamau                                 Brett Macmillan
Brian Kumura                                     Brittany Price
BTG Business Technology Group Inc.               Bubbarock Productions
Buffalo Air Express                              Bulkley (Stikine)
Bulkley Cleaners Ltd.                            Bulkley Valley Printers Ltd.
Bulkley Valley Wholesale                         Bullet Transportation Co. Inc.
Bunzl Cleaning & Hygiene                         Bunzl Safety/Advanced Mobile
C&C Insurance Consultants Ltd.                   Cagle Cartoons Inc.
Caitlin Thomas                                   Caitlyn Henry
Cameron Carnell                                  Canada Post Corporation
Canadian Linen (Lethbridge)                      Canadian Linen And Uniform
Canadian North Fly The Arctic                    Canadian Springs (Edmonton)
Canadian Tire (#329)                             Canyon Country Store
Capital Colour Press (1992) Ltd.                 Carbon60 Operating Co./ Gt.Net
Cardpointe                                       Cariboo Chilcotin Express Ltd.
Cariboo Custom Services                          Carien Wessels
Carly Ferguson                                   Carrel Andre
Carrie M Sakamoto                                Carson Ellis
Cartoon Ink                                      Carvill Sotheby's
Cascades Recovery Inc.                           Cassandra Burt
Catalyst                                         Catalyst Paper (USA) Inc.
Catalyst Pulp And Paper Sales Inc.               Cathy Jean Rivera
Cathy Webster                                    Caysha Goias-Soares
Cdw Canada Inc.                                  Cellmark Paper Canada Inc.
Central Air Equipment                            Central Alberta Co-Op Ltd.
Central Cariboo Disposal Services                Central Ink Corporation
Central Ink Corp                                 Central Welding Supply
Central Ink Corporation                          Certified Folder Display Service Inc.
Centric Elevator Corporation                     Charles Agena
Cfaster Deliveries                               Chase Merchant Services
Chartbeat Inc.                                   Chico Call Center
Cheyanne Kaneshiro                               Chloe Sjuberg
Chilliwack Water Store                           Chris Lloyd

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Chris Hammett                                Christopher Hargreaves
Christopher F Andrus                         Ci Ci Lau
Christopher Ramelb                           Cidel Moving & Storage (1975) Ltd.
CIBC Commercial Banking Center               Cindy Russell
Cindy Bethueser                              Cintas Corporation
Cintas Canada Limited                        Cintech Enterprises LLC
Cintas The Uniform People                    City of Calgary
City And County Of Honolulu                  City of Langley
City of Cranbrook                            City of Red Deer
City of Nanaimo                              City of Williams Lake
City of Victoria                             Cleanway Supply Inc.
City of Yellowknife                          Cliff O'Hara
Clear Channel Airports                       Coast Copy
Coast Capital (Ladysmith)                    Coastal Publications Ltd.
Coastal Community Bank                       Coffee Systems Hawaii
Coastal Transportation &                     Cole International USA Inc.
Cole International Inc.                      Collora Network Services
Colin Melvin                                 Colour & Style Printing Inc.
Color Technology Inc.                        Columbia Valley Pioneer
Columbia Ice                                 Commercial Colors Inc.
Command Media LLC                            Compact Information Systems Inc.
Comox Pacific Express Ltd.                   Conen S Freight Transport Inc.
Compass Marketing                            Consolidated Press
Conroy Media Ltd.                            Corinne Buyzat
Corey Peterson                               Cortech Quality d/b/a Skandacor
Corporate Express Canada Inc.                Coverall Of British Columbia
Counterpoint Licensing & . .                 Coyote Logistics
Cowan Office Supplies                        Cranbrook Chamber Of Commerce
Craig Kojima                                 Creative Basics
Cranbrook Water Conditioning                 Crew Electrical Services
Credit Guard Inc.                            Crystal Thunell
Croc Inc.                                    Culligan Water
Culligan Of Calgary                          D R Fortress LLC
Cyberlink Systems Corp.                      Dallas Dippel
Dall Contracting Ltd.                        Danny Ardo
Daniel Yu                                    Darlene Neill
Danny Rode                                   David Murphey Photography
David F Sutherland & Asoc                    David Segal
David Ogilvie                                Davis Akoni
David Shapiro                                Dean Keisha
Dean Chinen                                  Deb Egan
Dean Matagolai                               Debbie Dejong
Deb Mann                                     Debra Lynn
Debbie Reitmeier                             Delta Dental
Delivron C/O Steve Martin                    Department Of Water Supply

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Delvi Fulfillment Ltd.                          Diana Duff
Dhc Communications Inc.                         Diana Koch
Diana Forster                                   Digital Direct Printing
Dick Boer                                       Director of Finance
Digital Fortress                                District of Sooke
District of Saanich                             DJW Enterprises
District Of Summerland                          Dobbs Joan Clare
Do Your Part Recycling                          Don Denton
Dolphin Delivery Ltd.                           Done Deal Drain Cleaning
Don Descoteau                                   Dorothy Jill Westerman
Doreen Sutton                                   Duthies First Choice Propane
Duck Paterson                                   Eagle Propane Sales Ltd.
E Garcia Delivery Service                       Eaton Corporation
Eastman Kodak Company                           Elite Litho
Edward Enterprises Inc.                         Elite Parking Service LLC
Elite Lithographers Co. Ltd.                    Ellie Shortt
Elite Pest Control LLC                          Emburse Inc.
Ellise Kakazu                                   Empower Trust Company LLC
Emily Bott                                      Enghouse Interactive Inc.
Emterra Environmental                           Enterprise Rent A Car Canada
Enmax Energy Corporation                        Erik Pinkerton Photography
Equifax Canada Inc.                             Esther Morand
Erin K K Carvalho                               European & Pacific Stars & Stripes
Etelka Gillespie (Mihaly)                       Excel Micro LLC
Eward Campbell                                  Ez Does It Contracting Ltd.
Executive Mat Service BC Ltd.                   Federal Express Corp
Factor Forms West Ltd.                          Ferrari Valerie
Fernie Stationers                               First Truck Centre BC North Inc.
Fire Prevention Services (2016) Ltd.            Flint CPS Inks North America LLC
Flaisek Esem                                    Focus Pre-Press Systems Ltd.
Flint Group                                     Fort St. James Chamber Of Commerce
Foodland Community Fund                         FortisBC
Fortisbc                                        Four Dimension Computer Centre
Fountain Tire                                   Fujifilm Canada Inc.
Fred Lee                                        Fujifilm North America Corp
Fujifilm Graphic System USA                     FYI Television
Future Systems                                  Gai Pension (683)
Gagandeep Singh                                 Garry Booth
Gail Akabane                                    Gary T Nakamura
Garry Buller                                    GCIU Pension
GCC Pension                                     Genara Esquerra
Geier Waste Services Ltd.                       George Lee
Geoffrey Yue                                    Gerald Macintyre
Georgia Nicols                                  Getty Images
Gerald Tisdale                                  Gf Inc.

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Getty Images (USA) Inc.                    Gillian Francis
Giampaolo Boschetti                        Glacier Media
Gisele Poliseno                            Glen Lono
Glacier Media Group                        Goodman Kevin
Golden West Transport Ltd.                 Grace Guy
GP Roadway Solutions                       Gracenote Media Services LLC
Grace Management Corporation               Grainger Inc. (Acklands)
Grainger                                   Grays Harbor Pud
Grand & Toy Limited                        Guardian Chemicals Inc.
Gregg Distributors Co. Ltd.                Gurjant Sohal
Guardian Chemicals Inc.                    Hall Printing
Gurpreet Singh                             Harrington Publishing Inc.
Harley Hay Studios                         Hawaii Kai Towne Center
Hawaii Dental Service                      Hawaii Medical College
Hawaii Lodging & Tourism Assn Kaua         Hawaii State Tax Collector
Hawaii Medical Service Assn                Hawaiian Airlines Inc.
Hawaii Teamsters And Allied Workers        Hawaiian Islands Freight Assn Inc.
Hawaiian Electric                          Hawaiian Telcom
Hawaiian Linen Supply Hilo                 Heide & Cooke LLC
Hawwaii Theatre Center                     Heidelberg Canada Graphic
Heidelberg Canada                          Henele V Maile
Helen Tologanak Navalik                    Hicap Holdings
Henry Schubert                             Hilton Hawaiian Village
Hilarie Makpah                             Holu Media Group LLC
Hipperson Hardware                         Home Hardware (Nakusp)
Home Hardware (Grand Forks)                Home Hardware (Smithers)
Home Hardware (Quesnel)                    Honolulu Freight Service
Homebuilders Association Vancouver         Hosoi Garden Mortuary Inc.
Honsador Lumber LLC                        HR Direct
HPM Building Supply                        HTT Safety N More Inc.
HSC Office Products                        Hub International
Hub International                          Hut 8
Hucul Printing                             Ian Thorpe
Hypertec Cloud Inc.                        Iheart Media
Icanon Associates Inc.                     IkiTV
Ikhnl                                      Ilwu Local 142
Ilona Turell                               Indigo Trigger LLC
Imperial Dade Canada Inc.                  Inka Solutions Inc.
Inez Pio                                   Inland Empire Paper Company
Inland Allcare                             Interlink
Integrated Business Solutions              Iron Mountain Canada Corp
International Convention Service           Iterable Inc.
Island Recycling Inc.                      J & R Hall Transport Inc.
Ivin Duchschrer                            Jack In The Box (#1152280)
J.F. Print Services                        Jacques Aquino

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Jacqueline Metcalfe                             Janice Louise
Janet Gairdner                                  Jan-Pro (Edmonton)
Janicki Sr Joseph C                             Jason Ferguson
Jan-Pro (Vancouver)                             Jeff Czar
Jeannine Penman                                 Jen Small
Jeffery Waldroupe                               Jennifer Tribbett
Jennifer Blyth                                  Jesse S Wysard
Jenron Group Inc.                               Jessica Pak
Jessica Lynn Harris                             Jim Sutherland
Jessie Martinez Jr.                             Jkr Distribution LLC
JJC Hawaii LLC                                  John Atkinson
Jobcase Inc.                                    John Morrow
John Atwell                                     Joselito R Iloreta
John Shaw                                       Josiah Tunkey
Joshua Argel                                    Justin Pierson
Journal Graphics Inc.                           Kaicee Trott
K&K Distribution LLC .                          Kaisha Scofield
Kaiser Foundation Health Plan Inc.              Kalama Charlani
Kal Tire C/O Williams Lake                      Kamehameha Schools
Kamaka Air Inc.                                 Kapolei Press LLC
Kamele Eskaran                                  Karen Anderson
Kapowai Group LLC                               Karen Mackenzie
Karen Johnston                                  Karen Murtagh
Karen Miller                                    Katherine Page
Karen Powell                                    Kauai First
Kathy Mclean                                    Kavanaguh Bros. Ltd.
Kauai Island Utility Cooperative                Kay Mizumoto
Kay Gaistardo                                   Kayleigh Seibel
Kaycia Lee Kobayashi                            Keith H Williams
KBJ Janitorial Services                         Kelli Shiroma Braiotta
Kekuaokalani Norine                             Kelsey Walling
Kelly Staszkow                                  Kenneth T Ching LLC
Ken Alexander                                   Kerri Morris
Kerilyn K Martin                                Kevin Cunningham Express
Kerrie Reay                                     Kevin Orozco-Delgado
Kevin Hemery                                    Kfve
Key Work Delivery                               Khii
Kgmb                                            Khon
Khnl / Kgmb LLC                                 Kim Coldwell
Kiku TV                                         Kira Dorward
King Features Syndicate                         Kjam Investments Ltd.
Kitv Tv                                         Kmb Auto Body
Klug Destry                                     Kona Transportation Co Inc.
Knicker Knaker C/O Kim Sindruck                 Kootenay Valley Water
Konica Minolta Bus. Sol.(Canada)Ltd.            Ktk Masala Shop

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Kristen Wilson                                 Kyle K Galdeira
Kuhio Medical Center                           LA Services
Kyle Sakamoto                                  Larry Kodama
Laminate This                                  Laura Blackwell
Larry Luga                                     Laura Gellatly
Laura Cross                                    Laura Kump
Laura Goldstein                                Lauren Kramer
Laura Langston                                 Lch C/O Kara Olson
Lawrence Jolicouer                             Legacy.com
Leavitt Machinery                              Leona Longakit
Lemaota Dallas Fuatino                         Leslie Canaday
Leong Tiffany                                  Lester Kodama
Lester H F Leong                               Lexisnexis Risk Solutions
Lewis Spaulding                                Limitless Snow Removal
Lillooet Publishing Ltd.                       Linda Tomlinson
Linda Carnell                                  Linda Woo
Linda Toribio                                  Lisa Grixti
Liquid Ventures                                Liveintent Inc.
Lissa Ann Horikawa                             LM Advertising
LLP Thompson Rivers Publications               Logical Sheet Metal & Roof
Loa Tausaga Jr.                                Lorenzo Orozco
Loomis Express                                 LSL Services
Lowry Sales Ab Ltd.                            Lumabao Bryton
Lucy Bailey                                    M32 Connect
Lush Landscaping                               Magdalena Geiger
Macdonald Rudy O Neil & Yamauchi               Magnite
Magdex                                         Mailers Haven
Mahi Aloha LLC                                 Manitoulin Transport Inc.
Manitoulin Transport                           Manroland Goss Web Systems America
Manroland Goss Web Systems                     Marcela Orozco
Marc S Maintenance                             Marie Kanai
Maria Hayton                                   Marilyn P Polido
Marilou Pasion                                 Mark M Bonilla
Mario Gedicke                                  Marla Smith
Marla Poirier                                  Mary Kemmis
Martina Dopf                                   Masonlift Ltd.
Mascon Cable Systems                           Mather Economics LLC
Matagi Matagiese                               Matthew Ornellas
Matter Of Beer with Mathieu Poirier            Maxine Dehart
Maui Circulation Inc.                          Mcmaster Carr Supply Company
Mayra Segura Reyes                             Mcwhirter Office Solutions
Mcneil & Company Inc.                          Mederic Teikiopua Brown
Med Life Services                              Mediapro
Media Monitors                                 Menards Courier C/O Rick Menard
Memoriams                                      Merlinone Inc.

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Menehune Water Company Inc.                    Metro Atta Elevator Ltd.
Merritt Newspapers LLP                         Metroland Media Group
Metro Creative Graphics Inc.                   Michael Dawe
Metropolitan Life Insurance Co                 Michael Watkins
Michael Dooley                                 Michelle Johnson
Michelle Cabana                                Mike Bryant
Mid Island Consumer Services Co-Op             Mill Creek Coffee Company
Mikle Langenhan                                Mills (Trail)
Mills (Kcn-Vms-Saa-Bpho)                       Misty Johnsen
Mills Sin (Wlt-Wlp-Wlm)                        Mohammed Nafisha
Mittera Group                                  Monster Worldwide Inc.
Monk Office Supply Ltd.                        Muller Martini Corp
Motion Canada                                  Nabhaites Transport Ltd.
Myles Williamson                               Napa Auto Parts
Nanaimo Airport Commission                     Nat L Marine Sanctuary Foundation
Nashimoto & Associates                         National Publication Services LLC.
Natasha Griffiths                              Naviga Inc.
Naufahu Korey De Mario                         ND Graphics Inc.
Navy Exchange Charitable Collection            Nestor Asuncion
Nelson Cleaning Service                        New West Broadcasting Corp
Nett Distribution LLC                          New-Line Products Ltd.
New York Times Syndication                     Newsengin Inc.
News Media Canada                              Newspaper Subscription Services Lp
Newspaper Processing Services Inc.             Nextgen Automation
Newspaper Toolbox                              Nicole Koran
Nicholson Mechanical Ltd.                      Nina Butova
Nikolay N Boltik                               North Nova Electric Ltd.
Nita Alo                                       Northland Utilities
Northern Bounce Academy                        Northwestel Inc.
Northline Group                                Northwright Airways
Northwind Petroleum Ltd.                       Nuuanu Memorial Park
Nursery Associates                             Oceanic Time Warner Cable
Obun Hawaii Inc.                               Ogolikhina Ksenia
ODP Business Solutions LLC                     Ohana Newspaper Distribution .
Ohana A/C Services                             Okanagan Office Systems
Ok Tire Ltd. (Vernon)                          Olomana Loomis Isc
Old Victoria Water Co.                         One Signal Inc.
Omni Industrial Inc.                           Osg Billing Services
Orkin Canada Corporation                       Overland West Freight Lines Ltd.
Ouridea Graphic Design                         P.D.Q. Express Ltd.
Ownlocal Inc.                                  Pacific Northern Gas
Pacific Media Group                            Papyrus Printing Ltd.
Paper Dolls                                    Park Shore Waikiki
Park Place Technologies                        Pat Baker
Parker S Heating And Cooling Ltd.              Paul Bucci

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Patterson Jr. Antonio                        Paul Y Awaya
Paul Honda                                   Payway Inc.
Paylocity                                    PDQ Haulage
Pd Enterprises Inc.                          Peggy Rapoza
Pdq.Com Corporation                          Peopleready Inc.
Penske Truck Leasing Co Lp                   Peter Boylan
Perq LLC                                     Peter Mccully
Peter Bozhko                                 Peter Rosegg
Peter Miles                                  Petow Design
Peter Tebbutt                                Pii Chandler-Troche
Petrocard Systems Inc.                       Pitney Works
Pit Stop Parcel Services                     Polkadot
Planet Clean Nanaimo                         Polychem LLC
Polkadots Software                           Ponoka & District Chamber
Polymershapes Distribution Canada            Postmaster Kailua Kona
Postmaster Honolulu                          Power Flow Electric Ltd.
Postmedia Payment Centre                     Prince George Office Systems
Prince George Citizen The                    Princess Auto
Prince Rupert Chamber Of Commerce            Printers Plus
Printech Printing Corp.                      Public Schools Of Hawaii Foundation
Progent Corporation                          Pulver Crawford Munroe LLP
Pulse Research Inc.                          Pureaqua Water Company
Pure Water Tech Hawaii                       Quad City Building Materials
Purolator Inc.                               Quality Collating Ltd.
Quadient Finance USA Inc.                    Quench Canada Inc.
Quality Insertions Ltd.                      R Cooper Sales
Qulliq Energy Corporation                    Raena A Nerveza
Rackspace Us Inc.                            Rani Henderson
Ramada Hotel                                 Ray Wilson
Raven Recycling Society                      RBP Chemical Technology Inc.
Raylene Naeole                               Rebel Tavarez
Rebecca Stolar                               Red Pineapple
Red Carpet Cleaning                          Regence Group Administrators
Reed Brennan Media Associates                Re-Max Ocean Pacific Realty
Reina Van Lagen                              Retail Lockbox Inc.
Reskyu                                       Rhc Property Holdings LLC
Rfs Canada                                   Richard Eden
Ric S Grounds Maintenance Ltd.               Rico Orozco
Rick Methot                                  Ricoh Usa Inc.
Ricoh Canada Inc.                            River Ink Printing And Signs Ltd.
Ringcentral Canada Inc.                      Rob Buchanan
Rls Courier                                  Roberta Akamu
Rob S Forklift                               Rogers Wireless Inc.
Rod Sluggett                                 Ron Currie
Ron Balzer                                   Ronald Mcdonald House Charities

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Rona Revy Inc. (134)                          Route 3 Print Studio
Rory Capern Advisory Services Inc.            Royal Canadian Legion Br 24
Roxanne Mackintosh                            Royal Rubber Stamp Co.
Royal Canadian Legion Br 293                  Rrac LLC
Royer S Landscaping Property Main             Rupert Cleaners & Laundry Ltd.
Rsss Quarries (2019) Ltd.                     Rutan Refrigeration Kauai
Russel Trachtman                              Ryder Transportation Service
Ryan Cooper                                   Sabrina O Krainetz
Ryder Truck Rental Inc.                       Salem Media Of Hawaii Inc.
Safety-Kleen Canada Inc.                      Sandra S Oshiro
Sandra Jones                                  Sarah D Arcey
Sandra Stallwood                              Save On Foods #2245
Sarah Mclvor                                  SBS Financial Suite
Sav-Rx                                        SCV Waste Solutions
Scott Jones                                   Sean Mcintyre
Sean Mccue                                    Servcomm Communications
Selkirk Express                               Servicemaster
Service Master Of Fraser Valley               Servus (Red Deer, Calgary)
Servpac Inc.                                  Shannon Friesen
Sgk Delivery C/O Kathleen Giguere             Shao Xi Chu
Shantey N Kakalia                             Sharon Girard
Sharon Bain                                   Shaw Business Solutions
Sharon Marshall                               Shirley Chong
Shaw Cable                                    Siemens Garage Ltd.
Shoppers Drug Mart (Sooke)                    Sigall Robert L
Sierra Lundy                                  Simply Computing Inc.
Simplifi Holdings Inc.                        Skeans Engineering & Machinery Ltd.
Site Impact LLC                               Skybridge Mobile LLC
Skybridge Financial Services LLC              Skyway West
Skywave Broadband Inc.                        SM Paper Inc.
Slimcut Media/Magnite                         Softchoice Corporation
Social News Desk Inc.                         Soha Living
Softchoice Lp                                 Sonja Drinkwater
Sommer Home Hardware                          Sophia (Zhen) Jia
Sooke Harbourside Lions                       South Fraser Equities Inc.
South Cariboo                                 Spectrum Business
SP Plus Corportion                            Spencer Tiera
Speedpro Signs Plus                           Spotless Uniform Ltd.
Spicers Canada Limited                        Stacy Yagi
Stacie K Lynch                                Staples Commercial
Staples Advantage (Calgary)                   Steadfast Cleaning Service Ltd.
Star 94.3 (Khku-Fm)                           Stephanie A Lopes
Stein Richard                                 Stephanie Smith
Stephanie Newsome                             Steve Knight
Stettler Curling Club                         Steven Tashima

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Steve Scott                              Strathcon Industries
Stewart D L                              Summerland Delivery
Straub Clinic & Hospital                 Summit International Trade Services
Summers Caleb                            Sun Chemical
Summit Media LLC                         Sun Chemical Ltd.
Sun Chemical Limited                     Suncor Energy Products Partnership
Suncor                                   Sunshine Arts Inc.
Sunlife Pension                          Super Save Enterprises Ltd.
Super Save Disposal Inc.                 Superior Propane
Super Self Storage                       Symcor Inc.
Superior Septic Services                 Talanoa Naufahu
T Mobile                                 Tamara Beitinger
Talbot Marketing                         Tarr & Sons Janitorial Service
Targeted News Service                    Tasco Supplies Ltd.
Taryn Liebholz                           T-Dawg Delivery
Tatyana Kochubey                         Tecnavia Press Inc.
Technical Safety Bc                      Telus Communications Company
Telus Communications Co                  Terence Field
Telus Custom Security Systems            The Coffee Connection Ltd.
Teresa Bird                              The Graphics Factory
The Finish Line                          The Harry and Jeanette Weinberg Foundation
The Happy Paper Parlor                   The Ledge Depot C/O Doug Teramoto
The Human Company                        The Office Co. Ltd. (Madill)
The New York Times                       Thomas L Hanohano
The Washington Post                      Thomas Schaffer
Thomas Roper                             Thomson Reuters Canada
Thomas Transport Service                 Tim Deegan
Tim Collins                              Timothy C Wright
Timothy Allan Stooshinoff                Tofino (Long Beach Chamber)
Timothy Osako                            Town of Smithers
Torstar Syndication Services             Tracey Roberts
Town of Sylvan Lake                      Trade Media Hui Inc.
Tracey S Jeremiah                        Travis Devonport
Trane US Inc.                            Trevor Shirley
Trenholm Logistics Inc.                  Triad Electric Ltd.
Tri Isle Inc.                            Trinidad Lorenzo
Tribune Content Agency LLC               Tristan Marti
Triple F Distributing                    Troy Fujimoto
Triton Digital Canada Inc.               Trulli Italian C/O Stephanie Larsen
Trtm LLC                                 Tundra & Associates Inc.
TST-CF Express                           TV Media Inc.
Tundra Transfer                          Two Cowboys (Profiled It People)
Twin Ink Inc.                            Umialik
Uline                                    Unitek Solvent Services Inc.
United Feature Syndicate                 Urban Impact Recycling Ltd.

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Upland Software Inc.                            USA Today
Ursula Maxwell-Lewis                            USSPI
USPS                                            Vadset Stanford Keoni
V.K. Delivery & Moving Services Ltd.            Valentin Gavrilyuk
Valassis Direct Mail                            Van Kam Freightways
Valley Lift Truck Services Ltd.                 Vanessa Santiago
Vancity Credit Union Group                      Velmer Delivery
Vanguard Cleaning Systems                       Verizon Wireless
Vendasta Technologies Inc.                      Vets Facility Services Ltd.
Vernon Lock & Security                          Victoria Box & Paper
Vicki Clark                                     Vikki Hopes
Videojet Technologies Inc.                      Villagomez Willy James A
Village Media Inc.                              Vonclaro Inc.
Volvo Financial Services                        Wable Services Inc.
W Steak Waikiki LLC                             Wakely M Santos
Wajax Equipment                                 Walter Humpries
Wallace T Ohta                                  Warwick Printing Co. Ltd.
Wanda Macdonald                                 Watanabe Ing LLP
Waste Connections Of Canada Inc.                Waterfront Plaza LLC
Water Treatment Solutions LLC.                  Wehaa Design
Wee-Tote Delivery Services                      Wendell J Kahaleoumi III
Wells Fargo Equipment Fiance                    Western National
West Oahu Aggregate Inc.                        Westkey Graphic Ltd.
Westfield Country Club Ltd.                     Wheelbase Communications
WF Newspaper Delivery Inc.                      Whole Happy
White Paper Co.                                 WKF Inc.
Williams Lake & District                        WP Company LLC
World Printing                                  Wyatt Tremblay
WP Engine Inc.                                  Yamachika Alicia
Yakov Butov                                     Yo Deliveries C/O Sahil Khanna
Yellow Pages                                    Young Justin
Young Brothers                                  Zeta Global Corp
Yuriy Chernyak
Zuora Zephr Digital Subscriptions




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